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 5   Attorney for Defendant
     JOSE ANTONIO MORENO LOPEZ
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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 09-CR-00347 AWI
13                        PLAINTIFF,
                                                          STIPULATION AND ORDER TO
14                                                        CONTINUE STATUS
                                                          CONFERENCE HEARING
15
     YSIDRO MORENO LOPEZ,
16   JOSE ANTONIO MORENO LOPEZ
17                                 DEFENDANTS.
18
19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
20   ANTHONY W. ISHII AND KIRK E. SHERRIFF, ASSISTANT UNITED STATES
21   ATTORNEY:
22          COMES NOW Defendant, JOSE ANTONIO MORENO LOPEZ by and through his
23   attorney of record, DAVID A. TORRES hereby requesting that the status conference currently set
24   for August 30, 2010 be continued to September 20, 2010 at 9:00 a.m., or a date convenient to
25   court and counsel.
26          This is a mutual agreement between myself , Co-Counsel John A. Tello, and Assistant
27   United States Attorney Kirk E. Sherriff, to provide time for discussions regarding restitution in
28   this case. All defendants are prepared to exclude time.
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 1          Based upon the foregoing, I respectfully request that this matter be continued to
 2   September 20, 2010.
 3          The parties also agree that the delay resulting from the continuance shall be excluded in
 4   the interest of justice pursuant to 18 U.S.C. §3161(h)(7)(A) and §3161(h)(7)(B)(i) & (iv).
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 6
 7   Dated: August 26, 2010                              /s/ David A. Torres
                                                         DAVID A. TORRES
 8                                                       Attorney for Defendant
                                                         JOSE ANTONIO MORENO LOPEZ
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     Dated: August 26, 2010                              /s/ John A. Tello
11                                                       JOHN A. TELLO
                                                         Attorney for Defendant
12                                                       YSIDRO MORENO LOPEZ
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14   Dated: August 26, 2010                              /s/ Kirk Sherriff
                                                         KIRK SHERRIFF
15                                                       Assistant U.S. Attorney
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 1                                             ORDER
 2          IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
 3   §3161(h)(7)(A) and §3161(h)(7)(B)(i) & (iv).
 4
 5   IT IS SO ORDERED.
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     Dated:    August 26, 2010
 7   0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE
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